869 F.2d 593Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Byron Carlton CUMBER, Plaintiff-Appellant,v.Joe McQUEEN, Sheriff;  Kenneth Ramsey, Defendants-Appellees.
    No. 88-7793.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Nov. 28, 1988.Decided:  Feb. 6, 1989.
    
      Byron Carlton Cumber, appellant pro se.
      Allan R. Gitter (Womble, Carlyle, Sandridge &amp; Rice), for appellees.
      Before DONALD RUSSELL, K.K. HALL and JAMES DICKSON PHILLIPS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Byron Carlton Cumber appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Cumber v. McQueen, C/A No. 87-22-CRT (E.D.N.C. Oct. 12, 1988).  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      2
      AFFIRMED.
    
    